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                              INDEX OF EXHIBITS

A     2018 Property Tax Payment Plan (Tawanda Hall)

B     Plaintiffs’ First Amended Class Action Complaint for Declaratory Relief,
      Injunctive Relief and Damages

C     Motion to Amend Complaint

D     Order on Defendants’ Motion for Summary Disposition and Plaintiffs’
      Motion to Amend Complaint

E     Deed

F     Opinion, Jackson v. Southfield Neighborhood Revitalization Initiative,
      Michigan Court of Appeals Docket #344059 (Dec. 19, 2019)
